Case 3:24-bk-00496-BAJ Doc158 Filed 07/15/24 Pagei1of3

United States Bankruptcy Court
Middle District of Florida
Jacksonville Division

IN RE:
Genie Investments, NV, Inc. Case No.:3:24-bk-00496-BAJ
Debtor(s).

Declaration Concerning Response to Debtor’s Objection
to Claim 22 of Foster Group, LLC

tee + wk + ~~ =~ 1-declare under penalty.of perjury-that-the foregoing.is.true and-correct.-="~ -.- -. = = w12ae

Executed on: 07-09-2024

Signature: lifer ark

Adam Foster, Owner
Foster Group, LLC

FILED MAIL UISBC
JAM, FL JULi5'24

Case 3:24-bk-00496-BAJ Doc158 Filed 07/15/24 Page 2of3

United States Bankruptcy Court
Middle District of Florida
Jacksonville Division

IN RE:

Genie Investments, NV, Inc. Case No.:3:24-bk-00496-BAJ
Debtor(s).

Response to Debtor’s Objection

--+.. -.: + = -The Creditor (Foster Group, LLG).objects to.the Debtor's-objection-to. Claim 22 filed-by Foster
Group, LLC.

According to Exhibit 1 to the Proof of Claim, the Creditor sent wires to. McMann Commercial
Lending:to the amount of $7,900 on February 11,2023 and $165,000 on June 20, 2023. The
Debtor claims that it never received the $7,900 and $165,000 wires from McMann Commercial
Lending sent from the Creditor to McMann.

McMann has stated to the Creditor that McMann sent both amounts to the Debtor, and is
preparing documentation as proof of these transactions. The Creditor requests. that the
appointed Examiner review the Debtor’s financial transactions to determine whether or not
these amounts were indeed received by the Debtor from McMann.

Sprit ee
Case 3:24-bk-00496-BAJ Doc158 Filed 07/15/24 Page 3of3

PROOF OF SERVICE

Adam Foster, under penalty of perjury, states that a copy of the foregoing Response was
furnished by either U.S. Mail, postage paid or CM/ECF electronic filing to:

Clerk of the Court

300 N. Hogan Street

Suite 3-150

Jacksonville, Florida 32202

Which is the place they regularly conduct their business, and to:

~~ --Bryan-K Mickle —— -) .--_—.-~- — ee
5452 Arlington Expressway
Jacksonville, Florida 32211
Which is the place he regularly conducts his business.

Qt ay.
This day of July, 2024,

Foster Group, LLC

By: Onn tay

Adam Foster
2539 N 300 E
Lehi, UT 84043
801-505-8646

